    CASE 0:14-md-02564-JNE-SER Document 110 Filed 12/01/15 Page 1 of 5




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
In re:
LIFE TIME FITNESS, INC.,
TELEPHONE CONSUMER                                    No. 14-md-2564 (JNE/SER)
PROTECTION ACT (TCPA)                                       MDL No. 2564
LITIGATION

                                               FINAL JUDGMENT AND DISMISSAL
                                                      WITH PREJUDICE
This document relates to:
All Actions

       Based on the files, records, and proceedings herein, IT IS ORDERED THAT:

       1.     This Final Judgment incorporates by reference the definitions in the

Stipulation of Class Action Settlement dated February 25, 2015 (“Settlement

Agreement”), and all terms used herein shall have the same meanings as set forth in the

Settlement Agreement unless set forth differently herein. The terms of the Settlement

Agreement are fully incorporated in this Final Judgment as if set forth fully herein.

       2.     The Court has jurisdiction over the subject matter of this Action and all

Parties to the Action, including all Settlement Class Members.

       3.     In the accompanying Order Approving Class Action Settlement, the Court

granted final certification, for purposes of settlement only, of a Settlement Class pursuant

to Federal Rule of Civil Procedure 23(b)(3), defined as:

              All persons within the United States who received a text
              message from Life Time Fitness, Inc. to a cellular telephone
              through the use of an online texting service from January 1,
              2014, through April 15, 2014.

       4.     Pursuant to Federal Rule of Civil Procedure 23(c)(3), all Persons who
    CASE 0:14-md-02564-JNE-SER Document 110 Filed 12/01/15 Page 2 of 5



satisfy the Class definition above are Settlement Class Members.

       5.        The Persons excluded from the Settlement Class because they timely filed

valid Requests for Exclusion are: Mijin Chung, Kristina R. Decheva, Michael Gardner,

France Gelinas, Sonya N. Hawkins, Brian Peacock, Malla Soun, Kjestine Steinbring,

Rachel Tafoya, and Chad Windom. Persons who filed timely, completed Requests for

Exclusion are not bound by this Final Judgment, the Order Approving Class Action

Settlement, or any of the terms of the Settlement Agreement, and may pursue their own

individual remedies against the Released Parties. However, such Persons are not entitled

to any rights or benefits provided to Settlement Class Members by the terms of the

Settlement Agreement.

       6.        As set forth in the accompanying Order Approving Class Action

Settlement, the parties caused the Court-approved Class Settlement Notice to be mailed

and/or e-mailed to all potential Settlement Class Members and caused to be published on

the Settlement Website, www.LifeTimeTCPAsettlement.com, copies of the Full Notice;

Preliminary Approval Order; the Plaintiffs’ Motion for Award of Attorneys’ Fees and

Costs and the declarations in support of the Motion; and other information about the

settlement.

       7.        For the reasons set forth in the accompanying Order Approving Class

Action Settlement, the Settlement of this Action on the terms set forth in the Settlement

Agreement, along with the Exhibits thereto, proposed by the Parties has been approved

by this Court.

       8.        Pursuant to Federal Rule of Civil Procedure 23(c)(3), all Settlement Class


                                               2
     CASE 0:14-md-02564-JNE-SER Document 110 Filed 12/01/15 Page 3 of 5



Members who have not timely and validly filed Requests for Exclusion are thus

Settlement Class Members who are bound by this Final Judgment, by the Order

Approving Class Action Settlement and by the terms of the Settlement Agreement.

       9.     Each and every Settlement Class Member, and any person actually or

purportedly acting on behalf of any Settlement Class Member(s), is hereby permanently

barred and enjoined from commencing, instituting, continuing, pursuing, maintaining,

prosecuting, or enforcing any Released Claims (including, without limitation, in any

individual, class or putative class, representative or other action or proceeding), directly

or indirectly, in any judicial, administrative, arbitral, or other forum, against the Released

Parties. This permanent bar and injunction is necessary to protect and effectuate the

Agreement, this Order and this Court’s authority to effectuate the Agreement, and is

ordered in aid of this Court’s jurisdiction and to protect its judgments. Nothing contained

in this Order is intended to restrict any Settlement Class Member from contacting,

assisting or cooperating with any government agency regarding any Released Claim.

       10.    The Settlement Agreement, this Judgment and the accompanying Order

Approving Class Action Settlement, or the fact of the Settlement shall not in any event be

construed as, offered in evidence as, received in evidence as, and/or deemed to be,

evidence of a presumption, concession or an admission by any Plaintiff, Defendant,

Settlement Class Member, or Released Party of the truth of any fact alleged or the

validity of any claim or defense that has been, could have been, or in the future might be

asserted in any litigation or the deficiency of any claim or defense that has been, could

have been, or in the future might be asserted in any litigation, or of any liability, fault,


                                               3
    CASE 0:14-md-02564-JNE-SER Document 110 Filed 12/01/15 Page 4 of 5



defense, wrongdoing, any claim of injury or damages, or otherwise of such Party.

       11.    The Settlement Agreement, this Judgment and the accompanying Order

Approving Class Action Settlement, or the fact of the Settlement shall not in any event be

construed as, offered in evidence as, received in evidence as, and/or deemed to be,

evidence of a presumption, concession or an admission of any liability, fault or

wrongdoing, or in any way referred to for any other reason, by any Plaintiff, Defendant,

Releasing Party or Released Party in the Action or in any other civil, criminal or

administrative action or proceeding other than such civil proceedings as may be

necessary to effectuate the provisions of the Settlement Agreement, this Judgment and the

accompanying Order Approving Class Action Settlement.

       12.    For the reasons set forth in the accompanying Order Approving Class

Action Settlement, $2,800,000 is awarded to Class Counsel as reasonable attorneys’ fees

for both services rendered in the Action and reasonable expenses incurred in the Action.

Such amount shall be paid by Defendant. $3,000 shall be paid to each Class

Representative as an Incentive Award for services provided to the Class. Such payment

shall be made by Defendant. All such payments are to be made in accordance with the

accompanying Order Approving Class Action Settlement and the provisions of the

Settlement Agreement.

       13.    The Court hereby dismisses with prejudice the Action and all Released

Claims against each and all Released Parties and without costs to any of the Parties as

against the others, except as awarded above.

       14.    Without affecting the finality of this Final Judgment, the Court reserves


                                               4
    CASE 0:14-md-02564-JNE-SER Document 110 Filed 12/01/15 Page 5 of 5



jurisdiction over the implementation, administration and enforcement of this Final

Judgment and the Agreement, and all matters ancillary thereto.

      LET JUDGMENT BE ENTERED ACCORDINGLY.

Dated: December 1, 2015
                                                       s/Joan N. Ericksen
                                                       JOAN N. ERICKSEN
                                                       United States District Judge




                                            5
